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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 

    Exh #                          Description                               Offered Admitted    Witness
     401     Evacuation Diagram of rooms at CCA                                  x           x   Thompson
     402     Room 107A Hallway                                                   x           x   Thompson
     403     Room 107A Intercom                                                  x           x   Thompson
     404     Room 107B & 107 Hallway                                             x           x   Thompson
     405     Room 107B Intercom                                                  x           x   Thompson
     406     Room 107 Camera                                                     x           x   Thompson
     407     Room 107 Intercom                                                   x           x   Thompson
     408     Visitation hallway                                                  x           x   Thompson
     409     Visitation hallway                                                  x           x   Thompson
     410     Visitation hallway                                                  x           x   Thompson
     411     Room 4 Camera                                                       x           x   Thompson
     412     Room 4 Intercom                                                     x           x   Thompson
     413     Room 5 Intercom                                                     x           x   Thompson
     414     Room 5 Camera                                                       x           x   Thompson
     415     Room 6 Table                                                        x           x   Thompson
    416a     Room 6 Table                                                        x           x   Thompson
    416b     Room 6 Table                                                        x           x   Thompson
     417     Room 6 Intercom                                                     x           x   Thompson
     418     Room 6 Camera                                                       x           x   Thompson
     419     Visitation Hallway Intersection                                     x           x   Thompson
     420     Room 7 Intercom                                                     x           x   Thompson
     421     Room 7 Camera                                                       x           x   Thompson
     422     Room 7 Light                                                        x           x   Thompson
     423     Room 8 Light button                                                 x           x   Thompson
     424     Room 8 Intercom                                                     x           x   Thompson
     425     Room 8 Camera                                                       x           x   Thompson
     426     Room 9 Camera                                                       x           x   Thompson
     427     Room 9 Intercoms & light button                                     x           x   Thompson
     428     Visitation Hallway-Room 8 & 9 lights                                x           x   Thompson
     429     Visitation Hallway-Room 7 & 8 lights                                x           x   Thompson
     430     Visitation Hallway-end                                              x           x   Thompson
     431     Foyer & bathroom area                                               x           x   Thompson
     432     Foyer & bathroom area-camera 1                                      x           x   Thompson


 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    433    Foyer & bathroom area-camera 2                                        x           x   5/16/2018 
    434    Investigative Report of Zay Thompson                                  x           x   5/16/2018 
    435    CCA - Protecting Inmate Rights                                        x           x   5/16/2018 
    436    CCA Policies Produced by 17(c) Subpoena                               x           x   5/16/2018 
    437    Affidavit of Michael Bussell                                          x           x   5/16/2018 
    438    Grand Jury Subpoena                                                   x           x   5/16/2018 
    439    Index                                                                 x           x   5/16/2018 
    440    Index w Properties                                                    x           x   5/16/2018 
    441    Email string: Rokusek/Tomasic/Flannigan re                            x           x   5/16/2018 
           viewing videos of attorney-client conferences
    442    Email string: Rokusek/Tomasic re asserting attorney-                  x           x   5/16/2018 
           client privilege in videotaped conferences
    443    Email from Barnett relaying information from USM                      x           x   5/16/2018 
           Deputy Oberly
    444    Email from USMS, WDMO re CCA videotapes                               x           x   5/16/2018 
           attorney-client conferences
    445    Email: Tomasic to Black counsel and Bonnie Wiest re                   x           x   5/16/2018 
           videotapes of attorney-client conferences
    446    Email string: Tomasic/Shaneyfelt re USAO created                      x           x   5/16/2018 
           videotape index
    447    Transcript of July 22, 2016 Status Conference, US v.                  x           x   5/16/2018 
           Black [pp 5-6: index] [pp 11-12: videos][pp 15, 23
           additional defendants]
    448    CV of Professor Peter Joy                                             x           x   5/16/2018 
    449     Index of recorded attorney-client phone calls                        x           x   5/16/2018 
    450     2016-05-16 US v. Huff Transcript                                     x           x   5/16/2018 
    451     Affidavit of Gary Hart (to be provided)                              x           x   5/16/2018 
    452     2016-08-22 Tomasic email to Judge                                    x           x   5/16/2018 
            Robinson
    453     2016-08-03 Brannon email to Barnett                                  x           x   5/16/2018 
    454     2016-08-05 US v. Wright Transcript                                   x           x   5/16/2018 
    455     2016-08-18 Oakley email re: phone calls                              x           x   5/16/2018 
    456     2016-08-22 US v. Huff Transcript                                     x           x   5/16/2018 
    457     2016-08-22 US v. Benimon Transcript                                  x           x   5/16/2018 
    458     2016-08-05 Beam Email                                                x           x   5/16/2018 




 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    459     Affidavits from CJA attorneys – Christopher Joseph,                    x         x   5/16/2018 
            Kathleen Ambrosio, Robert Calbi, Cynthia Dodge,
            John Jenab, Deb Vermillion, Michael Jackson, Jackie
            Rokusek, Tom Haney, Robin Fowler, Thomas Johnson,
            and Melanie Morgan
    460     2016-08-24 CCA counsel email with CCA inmate                           x         x   5/16/2018 
            intake form
    461     US v. Dertinger Docket sheet excerpts                                  x         x   5/16/2018 
    462     2016-08-16 US v. Black Transcript                                      x         x   5/16/2018 
    463     2016-08-16 US v. Black Transcript                                      x         x   5/16/2018 

    464     Under Seal: Audio Recordings Subpoenaed by Gary                        x         x   5/16/2018 
            Hart from Securus
    465     2016-03-24 Tomasic Email to Kinney                                     x         x   5/16/2018 


    466     2016-03-24 Kinney Email to Tomasic                                     x         x   5/16/2018 


    467     2016-03-24 Kinney Email to Tomasic                                     x         x   5/16/2018 


    468     2016-03-24 Seubert Email to Thomas                                     x         x   5/16/2018 


    469     Grand Jury Subpoena attached to Ex. 469                                x         x   5/16/2018 


    470     2016-03-28 Email from Seubert to Thomas                                x         x   5/16/2018 


    471     Grand Jury Subpoena attached to Ex. 471                                x         x   5/16/2018 


    472     2016-04-06 Email from Seubert to Thomas                                x         x   5/16/2018 


    473     Grand Jury Subpoena attached to Ex. 473                                x         x   5/16/2018 


    474     2016-04-16 Email from Seubert to Thomas                                x         x   5/16/2018 




 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    475     Grand Jury Subpoena attached to Ex. 475                                x         x   5/16/2018 


    476     2016-08-03 US v. Huff Sentencing Transcript                            x         x   5/16/2018 


    477     2016-09-12 Response to Huff’s Rule 41(g) motion                        x         x   5/16/2018 


    478     2017-06-20 US v. Dertinger Transcript - Seubert                        x         x   5/16/2018 
            testimony
    479     2017-03-07 US v. Huff Sentencing Agreement                             x         x   5/16/2018 


    480     2017-07-06 US v. Huff Supplement to Motion to                          x         x   5/16/2018 
            Clarify
    481     2017-10-20 Special Master First Report on Phase III                    x         x   5/16/2018 
            Investigation
    482     2018-01-12 Letter Denying Permission to Testify                        x         x   5/16/2018 


    483     2016-11-17 Bigelow and Andrew email chain                              x         x   5/16/2018 


    484     2016-11-17 Bigelow and Andrew email chain                              x         x   5/16/2018 


    485     2016-11-17 Email from Securus to Bigelow                               x         x   5/16/2018 


    486     2016-11-22 Email from Bigelow to Securus                               x         x   5/16/2018 


    487     2016-08-23 US v. Black Doc 120                                         x         x   5/16/2018 


    488     2016-08-23 US v. Black Doc 121                                         x         x   5/16/2018 


    489     2016-09-06 US v. Black Doc 133                                         x         x   5/16/2018 


    490     2016-09-07 US v. Black Hearing Tran                                    x         x   5/16/2018 




 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    491     2017-01-05 Tomasic and Rask email chain                                x         x   5/16/2018 


    492     2017-06-19 US v. Huff Motion to Clarify                                x         x   5/16/2018 


    493     2017-02-20 US v. Herrera-Zamora Post-Trial Motion                      x         x   5/16/2018 



    494     2017-03-07 Zabel and Treadway email chain                              x         x   5/16/2018 


    495     2017-03-10 Email from Treadway to Zabel                                x         x   5/16/2018 – 
                                                                                                 10/11 ‐ Treadway

    496     2017-03-07 Email from Zabel to Moran                                   x         x   5/16/2018 


    497     2017-06-19 US v. Herrera-Zamora Correction of                          x         x   5/16/2018 
            Record
    498     2016-08-09 US v. Wright Hearing Tran                                   x         x   5/16/2018 


    499     2016-10-07 Email from Tomasic to Hunt                                  x         x   5/16/2018 


    500     2017-03-15 Letter from Hunt to Moran                                   x         x   5/16/2018 


    501     CCA IT Subpoena spreadsheet                                            x         x   5/16/2018 


    502     2017-06-20 US v. Dertinger Excerpt of Hearing                          x         x   5/16/2018 
            Transcript Boyd testimony
    503     2017-05-01 US v. Dertinger Doc 503                                     x         x   5/16/2018 


    504     2017-06-21 US v. Dertinger Excerpt of Hearing                          x         x   Flannigan 
            Transcript Flannigan testimony                                                       10/12/2018 

    505     2015-07-07 Kinney and Hoffer email chain                               x         x   Flannigan 
                                                                                                 10/12/2018 

    506     2016-04-21 Lajiness and Cahill email chain                             x         x   5/16/2018 



 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    507     2016-03-08 Stokes and Cahill email chain                               x         x   5/16/2018 


    508     2017-06-20 US v. Dertinger Excerpt of Hearing                          x         x   5/16/2018 
            Transcript Stokes testimony
    509     2016-07-12 Email between Tomasic and Kinney                            x         x   5/16/2018 


    510     2016-01-12 Subpoena acknowledgement form from                          x         x   5/16/2018 
            Tomasic
    511     2016-07-13 Email chain between Tomasic and Bigelow                     x         x   5/16/2018 


    512     2016-03-14 Lajiness and Cahill email chain                             x         x   5/16/2018 


    513     2016-03-11 Tomasic and Cahill email chain                              x         x   5/16/2018 


    514     2016-08-05 Email between Tomasic and Flannigan                         x         x   5/16/2018 


    515     2016-06-02 Cahill and Lajiness email chain                             x         x   5/16/2018 


    516     Rokusek and Tomasic email chain                                        x         x   5/16/2018 


    517     Herrera-Zamora sub 1                                                   x         x   5/16/2018 


    518     Herrera-Zamora sub 2                                                   x         x   5/16/2018 


    519     Herrera-Zamora call log                                                x         x   5/16/2018 


    520     Federal Public Defender attorney affidavits                            x         x   5/16/2018 


    521     2017-05-23 Tomasic letter to Judge Robinson                            x         x   Order (Doc.
                                                                                                 430) 
    522     CCA contract – Effective 1/1/07                                        x         x   5/16/2018 




 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    523     2017-05-15 US v. Dertinger Rokusek Affidavit                           x         x   5/16/2018 


    524     2013-05-17 Email chain between Cook and others                         x         x   5/16/2018 


    525     2013-07-08 Email chain between Collins and others                      x         x   5/16/2018 


    526     2016-03-08 Email chain between Cahill and others                       x         x   5/16/2018 


    527     2016-03-14 Email chain between Tomasic and others                      x         x   5/16/2018 


    528     2016-04-07 Email chain between Bigelow and Cook                        x         x   5/16/2018 


    529     2016-04-127 Email chain between Guthrie and others                     x         x   5/16/2018 


    530     2015-12-29 Cook and Moore email chain                                  x         x   5/16/2018 


    531     2016-01-06 Cook and Moore email chain                                  x         x   5/16/2018 


    532     2016-01-20 Email from Cook to Lajiness                                 x         x   5/16/2018 


    533     2015-12-08 Cook and Moore email chain                                  x         x   5/16/2018 


    534     2015-12-16 Cook and Moore email chain                                  x         x   5/16/2018 


    535     2017-06-20 US v. Dertinger Excerpt of Hearing                          x         x   5/16/2018 
            Transcript Bussell testimony
    536     2017-09-08 US v. Dertinger Show Cause Motion DE                        x         x   5/16/2018 
            551
    537     2018-01-25 Declaration of Carlos Moran                                 x         x   Order (Doc.
                                                                                                 430) 
    538     2016-08-15 Brannon lettter to Roger Moore, Jr.                         x         x   5/16/2018 




 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    539     2016-08-19 Bigelow fax to KS FPD                                       x         x   5/16/2018 


    540     2016-11-16 Laura Shaneyfelt and Alyssa Brockert email                  x         x   5/16/2018 
            chain
    541     2017-06-19 US v. Ashley Huff Notice of Clarification                   x         x   5/16/2018 
            and Correction
    542     2017-07-06 US v. Ashley Huff Supplemental Notice of                    x         x   5/16/2018 
            Clarification and Correction
    543     2017-06-19 US v. Black Notice of Record Clarification                  x         x   5/16/2018 
            and Correction

    544     US v. Herrera-Zamora – Notice of Submission of                         x         x   5/16/2018 
            Interview Summary
    545     2018-01-26 Rask and Metzger Summary of Sara                            x         x   5/16/2018 
            Gardner Interview
    546     2018-01-26 Allman and Britton Summary of Sara                          x         x   5/16/2018 
            Gardner Interview
    547     Notice of Inquiry – Filed In Camera                                    x         x   5/16/2018 


    548     2016-09-12 Kenyon Bigelow Email chain                                  x         x   5/16/2018 


    549     List of phone numbers                                                  x         x   5/16/2018 


    550     2016-07-27 Kenyon Bigelow Email chain                                  x         x   5/16/2018 


    551     2015-12-10 Kenyon Bigelow Email chain                                  x         x   5/16/2018 


    552     2016-11-05 Slinkard letter to David Cohen                              x         x   5/16/2018 


    553     Reply to Government’s Recommendation Related to                        x         x   5/16/2018 
            Scope of Special Master (D.E. 120) and Government’s
            Response to Motion to Impound Evidence (D.E. 121)
    554     2018-03-21 Transcript Sara Gardner Interview                           x         x   5/16/2018 

 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    555     2018-07-27 Letter from Deputy AG to David Cohen                                          


    556     2016-11-05 Letter from Slinkard to David Cohen                         x         x      Steeby
                                                                                                    10/4
    557     CV of Peter Joy                                                        x         x      Joy
                                                                                                    10/10
    558     CV of Justin Gelfand                                                   x         x      Gelfand
                                                                                                    10/10
    559     CV of Tami Loehrs

    560     CV of Nicholas Harris                                                  x         x        Martin
                                                                                                      10/9
    561     Declaration of Nicholas Harris                                         x         x        Martin
                                                                                                      10/9
    562     Report by Rich Federico                                                x         x        Federico
                                                                                        conditionally 10/9
    562A    Black Phone Data                                                       x         x        Federico
                                                                                        demonstrative 10/9

    563     Securus Subpoena 2018-05-04 and Response                               x         x        Martin
            (under seal)                                                                 under seal 10/9

    564     Securus Subpoena 2018-07-10 and Response                               x         x        Martin
            (under seal)                                                                 under seal 10/9

    565     Securus Subpoena 2018-07-24 - 1 and Response                           x         x        Martin
            (under seal)                                                                 under seal 10/9

    566     Securus Subpoena 2018-2018-07-24 - 2 and Response                      x         x        Martin
            (under seal)                                                                 under seal 10/9

    567     Securus Subpoena 2018-2018-07-24 - 4 and Response                      x         x        Martin
            (under seal)                                                                 under seal 10/9

    568     Securus Subpoena 2018-2018-09-17 - 1 and Response                      x         x        Martin
            (under seal)                                                                 under seal 10/9

    569     Securus Subpoena 2018-2018-09-17 - 2 and Response                      x         x        Martin
            (under seal)                                                                 under seal 10/9

    570     Cox Affidavit                                                          x         x        Wamble
                                                                                                      10/3

 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    571     2018-02-23 Wable letter to Brannon                                     x             x        Wamble
                                                                                                          10/3
    572     Brenda Wood Privatization Report                                       x             x        Martin
                                                                                                          10/9
    573     Brenda Wood Recording Access Log                                       x             x        Martin
                                                                                             under seal   10/9
    574     2017-12-06 17(c) to Securus JHZ phone logs

    575     2017-01-05 AUSA emails re PRAO JHZ                                     x             x        Barnett
                                                                                                          10/12
    576     2017-03-06 Rask email re JHZ calls

    577     2 018-01-08 Zabel email re JHZ

    578     Rask Memo re Herrera-Zamora calls and Flannigan

    578A    2017-05-17 Rask Memo re JHZ calls and Flannigan

    579     Rask Memo re Herrera-Zamora calls and Oakley

    579A    2017-05-17 Rask Memo re JHZ calls and Oakley                           x             x        Oakley
                                                                                                          10/10
    580     Rask Memo re Herrera-Zamora calls and Zabel

    580A    2017-05-17 Rask Memo re JHZ calls and Zabel                            x             x        Zabel
                                                                                                          10/4
    581     Rask Memo re Herrera-Zamora calls and Hunt

    581A    2017-05-17 Rask Memo re JHZ calls and Hunt                             x             x        Hunt
                                                                                                          10/11
    582     Tomasic letter re: Birdsong                                            x             x        Tomasic
                                                                                                          10/2
    583     Email with Warner and Tomasic re: Birdsong                             x             x        Tomasic
                                                                                                          10/2

 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    584     2017-05-17 Rask memo re Tomasic JHZ                                    x          x         Tomasic
                                                                                                        10/2
    585     Potential video clients                                                x          x         Federico
                                                                                          subject to    10/9
                                                                                         further obj.
    586     Hunt memo re Zabel Threat Investigation                                x          x         Hunt
                                                                                                        10/11
    587     2016-11-08 USAO emails re: Preservation Logs

    588     2016-11-07 USAO emails re: AV-PC                                       x          x         Barnett
                                                                                                        10/12
    589     2016-08-31 USAO emails re: SM and Computers                            x          x         Steeby 10/4
                                                                                                        Barnett 10/12
    590     2017-02-21 Rask email re KY atty

    591     2017-03-07 Barnett email re SM and Stokes

    592     Handwritten Notes re Treadway Reulet                                   x          x         Morgan
                                                                                                        Treadway 10/11

    592A    CCA Call Summary Report – Michelle Reulet

    592B    Michelle Reulet Call Detail Report (6/20/16 –
            6/27/16)
    592C    Michelle Reulet Call Detail Report (7/6/16 – 7/21/16)                  x          x         Treadway
                                                                                                        10/11
    592D    Michelle Reulet Call Detail Report (6/4/16 – 6/12/16)                  x          x         Treadway
                                                                                                        10/11
    592E    Michelle Reulet Call Detail Report (6/28/16 – 7/5/16)

    592F    Michelle Reulet Call Detail Report (6/13/16 –
            6/19/16)
    592G    2016-11-03 Reulet US Resp in Opp to Def 41(g) Mtn                      x          x         Morgan -
                                                                                                        Treadway
                                                                                                        10/11
    592H 2016-12-28 Crabtree Mtn Hrng Transcript                                   x          x         Morgan -
                                                                                                        Treadway
                                                                                                        10/11

 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    593     Sedgwick County User Management Report Inactive                        x             x        Schechter
                                                                                             under seal   10/3
    594     Sedgwick County User Management Report Active                          x             x        Schechter
                                                                                             under seal   10/3
    595     Notice to Counsel Sedgwick County                                      x             x        Schechter
                                                                                                          10/3
    596     Butler County User Management Report                                   x             x        Stewart
                                                                                             under seal   10/3
    597     Securus Template – Investigator CID Level I                            x             x        Stewart
                                                                                                          10/3
    598     Securus Template - Investigator                                        x             x        Stewart
                                                                                                          10/3
    599     Butler County User Activity Log Report                                 x             x        Stewart
                                                                                                          10/3
    600     Catania Call Requests                                                  x             x        Federico
                                                                                                          10/9
    600A    Catania Summary of Requested-Accessed Calls                            x             x        Federico
                                                                                                           10/9 
    601     Flannigan Call Requests                                                x             x        Federico
                                                                                                           10/9 
    601A    Flannigan Summary of Requested-Accessed Calls                          x             x        Federico
                                                                                                           10/9 
    602     Krug Call Requests                                                     x             x        Federico
                                                                                                           10/9 
    602A    Krug Summary of Requested-Accessed Calls                               x             x        Federico
                                                                                                           10/9 
    603     Morehead Call Requests                                                 x             x        Federico
                                                                                                           10/9 
    603A    Morehead Summary of Requested-Accessed Calls                           x             x        Federico
                                                                                                           10/9 
    604     Oakley Call Requests                                                   x             x        Federico
                                                                                                           10/9 
    604A    Oakley Summary of Requested-Accessed Calls                             x             x        Federico
                                                                                                           10/9 


 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    605     Rask Call Requests                                                     x         x   Federico
                                                                                                  10/9 
    605A    Rask Summary of Requested-Accessed Calls                               x         x   Federico
                                                                                                  10/9 
    606     Tomasic Call Requests                                                  x         x   Tomasic
                                                                                                 10/2
    606A    Tomasic Summary of Requested-Accessed Calls                            x         x   Federico
                                                                                                 10/9
    607     Wamble Call Requests                                                   x         x   Wamble
                                                                                                 10/3
    607A    Wamble Summary of Requested-Accessed Calls                             x         x   Federico
                                                                                                 10/9
    608     Zabel Call Requests                                                    x         x   Federico

    608A    Zabel Summary of Requested-Accessed Calls                              x         x   Frederico
                                                                                                 10/9
    609     8/19/16 Email from Chris Oakley

    610     8/19/16 Email from Emily Metzger to Chris Oakley

    611     8/20/16 Email from Jeff Stokes to Chris Oakley                         x         x   Oakley
                                                                                                 10/10
    612     8/20/16 Email from Chris Oakley to Jeff Stokes                         x             Tomasic
                                                                                                 10/2
    613     8/19/16 Email from Chris Oakley To Treadway

    614     PC Refresh 2016 Implementation Plan                                    x         x   Steeby
                                                                                                 10/4
    615     Appendix A07                                                           x         x   Steeby
                                                                                                 10/4
    616     8/19/16 Email from Chris Oakley                                        x         x   Seubert
                                                                                                 10/3
    617     2/6/17 Email from Erin Tomasic to Kim Flannigan                        x         x   Tomasic 10/2
                                                                                                 Flannigan 10/12


 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    618     4/17/17 Email from Kim Flannigan to Scott Rask                         x         x   Flannigan
                                                                                                 10/12
    619     8/19/16 Email from Kim Flannigan to Chris Oakley
            and Erin Tomasic
    620     10/03/16 Email from Kim Flannigan to Thomas Beall                      x         x   Flannigan
                                                                                                 10/12
    621     Supervising Attorney’s Memo to Monitoring Agents,
            Officers, and Translators
    622     5/25/17 Email from Kim Flannigan to Scott Rask                         x         x   Flannigan
                                                                                                 10/12
    623     8/17/16 Email from Pauletta Boyd to David Steeby

    624     1/6/17 Email from Scott Rask to Erin Tomasic

    625     4/8/15 Email from Mike McAtee to Roland Hoffer

    626     5/11/15 Email from Sheri McCracken

    627     9/9/14 Email from Roland Hoffer to Wayne Hall

    628     Phone Call from Emily Metzger                                          x         x   Catania
                                                                                                 10/9/2018
    629     8/4/16 Email from Scott Rask to Erin Tomasic

    630     10/15/15 Email from Roland Hoffer to Lajiness
            Hundley
    631     Response to Motion for Fed.R.Crim.P. 16(E)
            Discovery, Motion for Confidential Legal Visitation,
            and the “Return” of Property Pursuant to
            Fed.R.Crim.P. 14(g) (U.S. v. Perez-Madrigal)
    632     Response to Motion for Discovery, Confidential Legal
            Visitation and the “Return” of Property (U.S. v. Pryor)

    633     8/29/16 Email from Tomasic to Treadway


 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    634     8/29/16 Email from Tomasic to Treadway

    635     8/29/16 Email from Treadway to Tomasic                                 x         x   Barnett
                                                                                                 10/12
    636     2011-10-25 Praeses emails

    637     2013-07-29 SM Investigation - Catalyst                                 x         x   Wamble
                                                                                                 10/3
    638     2016-01-20 Tomasic Welch emails

    639     2016-01-20 Welch Tomasic emails                                        x         x   Tomasic
                                                                                                 10/2
    640     2016-01-21 Welch Tomasic emails

    641     2016-01-22 AUSA email exchanges                                        x         x   Tomasic
                                                                                                 10/2
    642     2017-03-10 Rask email to Metzger                                       x         x   Metzger
                                                                                                 10/4
    643     2016-06-28 CCA emails

    644     2016-07-12 Boyd Stokes emails                                          x         x   Boyd
                                                                                                 10/3
    645     2016-08-24 AUSA email exchange

    646     2016-08-24 USMS AUSA email exchange

    647     2016-12-05 Barnett email

    648     RESERVED

    649     2016-12-15 CAA Inmate Atty Verification Form                           x             Bigelow

    650     2016-12-23 Flannigan email


 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    651         2017-01-12 Barnett email                                           x         x     Metzger
                                                                                                   10/4
    652         2017-03-07 Zabel email to Treadway 

    653         2017-06-19 Allman Slinkard emails

    654         2017-06-20 Dertinger Mtn Hrng Notice
                                                  

                2017-07-11 Metzger Beall email                                                     Barnett 10/12
    655                                                                            x         x     Beall 10/12
                                                                                                   Cohen 11/16

    656         2018-10-03 Declaration of Fernando Hurtado                         x         x

    656A        Puede                                                              x         x

    657         2018-03-08 Securus call log – Wood

    658         2018-09-15 CCA Securus Users List

    659         2018-09-18 Barnett response to Cohen                               x         x      Barnett
                                                                                                    10/12
    660         Beall memo                                                         x        x       Barnett
                                                                                         Under seal 10/12
    660A        Screenshot                                                         x        x       Barnett
                                                                                         Under seal 10/12
    661         2017-01-18 Wichita DEA Response

    662         2016-12-12 USAO emails re: Litigation Hold

    663         2016-12-09 USAO emails re: Searching IMs

    664         2016-11-18 USAO emails re: Revised Litigation Hold                 x         x     Barnett
                                                                                                   10/12
    665         2018-09-26 Cahill letter re Touhy response - Seubert


 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    666     Zabel Memo re Herrera-Zamora calls and Moran                           x         x     Zabel
                                                                                                   10/4
    667     2018-09-14 Securus Screenshots                                         x         x     Martin
                                                                                                   10/9
    668     Securus Call Access - Reulet

    669     Slinkard Emails re Hard Drives

    670     2017-12-29 Catania email to Metzger re Assistance                      x         x     Catania
                                                                                                   10/9
    671     2016-07-15 Interpreters Invoice for Zabel JHZ

    672     2015-07-29 Tomasic email to Welch re Prof Resp

    673     Flannigan Memo to Rask re Ashley Huff call

    674     2017-05-22 Beall email to Rask re Black Order

    675     2017-05-17 Rask memo re Tomasic JHZ

    676     Spreadsheet of Rapp calls

    677     2016-12-06 Treadway email re Filter Team Training                      x         x      Gelfand
                                                                                         under seal 10/10
    678     2016-09-20 Boyd email re Taint Review Form

    679     2016-09-08 Treadway PRAO emails re Filter Teams

    680     2017-05-24 AUSA emails re Tomasic Req to Supp
            Record
    681     2016-12-06 Beall email to All re Filter Team Training                  x         x     Barnett
                                                                                                   10/12
    682     2016-10-26 Treadway email re Def 41(g) Motion



 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    683     2016-11-29 Treadway email re Melanie Morgan
            Response
    684     2016-05-16 Metzger Rask emails re Tomasic Notebook

    685     Procedure for Requesting and Using Recorded Inmate
            Phone Calls, Video and Emails in Criminal and Civil
            Cases – May 2017 Revision
    686     2017-6-30 Email from Beall to Special Master

    687     U.S. v. Reulet – In Camera Submission Related to the
            U.S.’s Response in Opposition to Defendant’s 41g
            Motion
    688   Black Special Master Subpoena Response – Hunt (Zabel
          Threat Investigation)
    689   2016-08-24 Hunt Email to Chris Johnson                                   x        x         Hunt
                                                                                        Under seal 10/11
    690   2016-08-24 Hunt Email to Barnett, Flannigan and Zabel                    x        x         Hunt
                                                                                        Under seal 10/11
    691   Barnett Handwritten Notes                                                x        x         Barnett
                                                                                                      10/12
    692   Slides regarding Treadway and Reynal                                     x        x         Treadway
                                                                                        demonstrative 10/11

    693   Slides regarding Treadway and Metzger/Grimes                             x        x         Treadway
                                                                                        demonstrative 10/11

    694   2017-07-11 Beall email to Special Master

    695   2017-05-26 Beall email regarding new procedure                           x       x       Barnett
                                                                                        Under seal 10/12/18
    696

    697

    698



 
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Exhibits 401‐554 were previously admitted/stipulated to at the hearing held on 5/16/2018. 
    699

    700   2017-12-27 Beall letter to Brannon                                       x         x   Barnett
                                                                                                 10/12
    701   2017-07-27 Brannon letter to Beall and Barnett                           x         x   Barnett
                                                                                                 10/12
    702   2017-12-19 Brannon letter to Beall                                       x         x   Barnett
                                                                                                 10/12
    703   2016-8-17 Flannigan email                                                x         x   Barnett
          (Dup of SM Exhis 1020, 1055 and 1082)                                                  10/12
    704   2016-11-17 Oakley email to Special Master                                x         x   Barnett
                                                                                                 10/12
    705   2014-02-26 Kaiser email to Collins re: Devosha CCA                       x         x   11/16
          subpoena
    706   2017-03-13 Email from Emily Metzger                                      x         x   Metzger
                                                                                                 11/16
    707   2016-04-01 Email from Trent Krug                                                   x   11/16

    708   2016-09-05 Email from Erin Tomasic                                                 x   11/16 

    709   2016-09-06 Email from Scott Rask                                                   x   11/16 

    710   2016-09-30 Email from Kim Flannigan                                                x   11/16 

    711   2016-11-08 Email from Erin Tomasic                                                 x   11/16 

    712   2017-03-27 Email from Emily Metzger                                                x   11/16 

    713   2017-05-01 Email from Scott Rask                                                   x   11/16 

    714   2016-08-23 Email from Emily Metzger                                                x   11/16 




 
